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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  SCANNING TECHNOLOGIES                 §
  INNOVATIONS LLC,                      §                Case No: 4:22-cv-00372-ALM
                                        §
        Plaintiff,                      §                PATENT CASE
                                        §
  vs.                                   §                JURY TRIAL DEMANDED
                                        §
  MOBOLUTIONS, LLC                      §
                                        §
        Defendant.                      §
  _____________________________________ §

                                                 ORDER

          On this date came on to be heard Plaintiff and Defendant’s Joint Stipulation of Dismissal

  and the Court having considered same, is of the opinion that the Stipulation should be GRANTED.

  Accordingly,

          It is hereby ORDERED that all claims asserted by the Plaintiff in this action are

  dismissed with prejudice and all counter-claims asserted by the Defendant in this Action are

  dismissed without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii) and that each party shall bear

. its own costs and attorneys’ fees with respect to the matters dismissed.

          All relief not previously granted is hereby denied.

          The Clerk is directed to close this civil action.

          IT IS SO ORDERED.
           SIGNED this 22nd day of June, 2022.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
